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 9
                         UNITED STATES DISTRICT COURT
10
            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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      JAMES CHEN,                              Case No.: 2:19-cv-06941-MFW (SKx)
13
                  Plaintiff,
14                                             Hon: Michael Fitzgerald
15
      vs.                                      ORDER DISMISSING THE
16
                                               ENTIRE ACTION WITH
17                                             PREJUDICE
18    BANK OF AMERICA, N.A.;
19
      SYNCHRONY BANK, N.A.; GEMINI
      TRUST COMPANY, LLC; and DOES
20    1 – 100 Inclusive.
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                  Defendants
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            ORDER DISMISSING THE ENTIRE ACTION WITH PREJUDICE
     Case 2:19-cv-06941-MWF-SK Document 51 Filed 09/16/20 Page 2 of 2 Page ID #:465




 1          Pursuant to the Stipulation of the Parties under Fed. R. Civ. P.
 2    41(a)(1)(A)(ii), the Court hereby orders as follows:
 3          1. This case is dismissed with prejudice.
 4          2. Each party shall bear its own attorneys’ fees and costs.
 5
 6          IT IS SO ORDERED.
 7
 8    Dated: September 16, 2020              _________________________________
 9                                           Michael W. Fitzgerald
                                             United States District Judge
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          ORDER DISMISSING THE ENTIRE ACTION WITH PREJUDICE
